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                            DECLARATION OF SEAN R. FLANAGAN

                  1, Sean R. Flanagan, hereby certify as follows:

                   1.     I am an associate of the firm of Kelley Drye & Warren LLP, which is

located at 101 Park Avenue, New York, New York 10178.

                          I have been admitted to practice before the following United States

District Court on the date indicated:

                  ADMITTED                                                       DATE

State of New York                                                               05/28/03

State of New Jersey                                                             02/03/03

United States District Court New Jersey                                         02/03/03

United States Bankruptcy Court New Jersey                                       02/03/03

United States District Court for the Southern District of New York              12/06/05

United States Bankruptcy Court for the Southern District of New York            02/02/06

United States District Court for the Eastern District of New York               08/03/07

                   3.     1 am an attorney in good standing and eligible to practice in the above-

referenced jurisdictions.

                   4.     I have not been suspended or disbarred in any jurisdiction, and no

disciplinary actions are pending against me.

                   5.     A certificate of good standing for the United States District Court for the

Southern District of New York is attached hereto.

                   6.     1 am familiar with the Local Rules of the United States District Court for

the District of Massachusetts and agree to abide by them.

                   I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct.


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Executed on March. 12, 2010.




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CSDNY (1 1199) Catificatc of Good Standing




                             United States District Court
                                             Southern District of New York

                                                                                 Certificate of
                                                                                 Good Standing

I, J. Michael McMahon , Clerk of this Court, certify that



                          SEAN R. FLANAGAN                                  , Bar #      SF3119




                    was duly admitted to practice in this Court on



  DECEMBER 06th , 2005 , and is in good standing




                                             as a member of the Bar of this Court.




                    500 Pearl Street
Dated at            New York, New York                      on          MARCH 9th, 2010




               J. Michael McMahon                           by
                              Clerk                                     v Deputy Clerk
